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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
FRED M .KUBUS,                         :
                                       :
                                                    Case No.: 1:20-cv-07579-AJN
                Plaintiff,             :
                                       :
      -against-                        :
                                       :
LIVONGO HEALTH, INC., GLEN             :
TULLMAN, ZANE BURKE, CHRIS             :
BISCHOFF, KAREN L. DANIEL, SANDRA :
FENWICK, PHILIP D. GREEN, and          :
HEMANT TANEJA,                         :
                                       :
                Defendants.            :
                                       :
-------------------------------------- X

                          NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses his claims in the above-captioned action against

Defendants as moot. This notice of dismissal is being filed with the Court before service by

Defendants of either an answer or a motion for summary judgment.



Dated: November 4, 2020                     Respectfully submitted,

                                            MONTEVERDE & ASSOCIATES PC

                                            /s/Juan E. Monteverde______________________
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